                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION - DETROIT

Thomas Charron and                                                 Case No.: 15-54513
Kathleen Charron,                                                  Chapter: 13
                                                                   Hon. Walter Shapero
            Debtors.
__________________________________/

    OPINION SUSTAINING, IN PART, CHAPTER 13 TRUSTEE’S OBJECTION TO
                             CONFIRMATION

                                         Introduction

    The Chapter 13 Trustee objected to the confirmation of Debtors’ proposed Chapter 13 plan,

arguing primarily that it was not proposed in good faith because the plan excludes from Debtors’

current monthly income certain benefits from a City of Detroit Police and Fire Pension Plan.

Debtors argue that because such an exclusion is permitted for Social Security benefits, the same

exclusion should also be permitted as to these pension benefits. For the reasons that follow, the

Court will sustain the Trustee’s objection as to this issue, and overrule the Trustee’s other

objections.


                                             Facts

    The facts in this case are not in dispute. Debtors proposed a 60 month Chapter 13 plan that

contemplates monthly payments of $494.59. The plan estimates that $22,598.15 will be available

for Class 9 General Unsecured Creditors. Debtors’ Schedule F reflects $200,603.00 of unsecured

claims. Schedule I indicates Mr. Charron is not employed and has monthly income comprised of

$280.90 from Social Security and $2,167.36 from a “firefighter disability pension,” stemming

from his prior employment as a City of Detroit, Michigan firefighter. Mrs. Charron is employed

as a registered nurse for Botsford Hospital, earning a monthly gross income of $7,418.00, with a

monthly take-home income of $5,119.00. Schedule I indicates that the Debtors’ combined
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monthly income is $7,567.26. Schedule J indicates that the Debtors’ monthly expenses are

$5,038.31, thus leaving a monthly net income of $2,528.95.


                                            Discussion

 Whether the Pension Benefits are “Current Monthly Income” and Thus Must be Committed to
                                       Debtors’ Plan

    The Chapter 13 Trustee objected to the confirmation of Debtors’ plan, arguing primarily that

it was not proposed in good faith because Mr. Charron is not committing the referred-to pension

benefits to the plan. This argument raises the question of whether the Court should extend its

ruling in the case of In re Mihal, No. 13-54435, 2015 WL 2265790 (Bankr. E.D. Mich. May 6,

2015) to such pension benefits. In that case, this Court held (1) that a debtor is required to

commit all “current monthly income” to a Chapter 13 plan; (2) that a debtor’s Social Security

benefits are not included in 11 U.S.C. § 101(10A)(b)’s definition of “current monthly income”;

and (3) therefore, confirmation of a plan cannot be denied solely on the argument that failure to

commit such Social Security benefits to the plan constitute a lack of good faith. Mr. Charron’s

pension comes from the City of Detroit Police and Fire Pension Plan. It is the Court’s

understanding that many years ago, pursuant to an option to do so contained in the Social

Security Act, the City of Detroit opted out of providing Social Security benefits to certain

employees and instituted the City of Detroit Police and Fire Pension Plan (which was most

recently amended and restated on July 1, 2014 in the City of Detroit’s Chapter 9 Plan of

Reorganization). Debtors here argue that Mr. Charron’s pension benefits are, and should be

considered as, functional substitutes for Social Security benefits for all intents and purposes, and

therefore Mihal’s ruling should be extended and employed to overrule the Trustee’s objections to

confirmation. The Trustee did not object to Mr. Charron’s failure to commit to the plan his



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$280.90 monthly Social Security benefit income, conceding that Mihal controls as to that

income.

    Mihal was grounded in two distinct legal bases. The first was the plain language of §

101(10A)(b), which states:

       (10A) The term “current monthly income”—
                                               ***
          (B) includes any amount paid by any entity other than the debtor (or in a joint
          case the debtor and the debtor's spouse), on a regular basis for the household
          expenses of the debtor or the debtor's dependents (and in a joint case the
          debtor's spouse if not otherwise a dependent), but excludes benefits received
          under the Social Security Act, payments to victims of war crimes or crimes
          against humanity on account of their status as victims of such crimes, and
          payments to victims of international terrorism (as defined in section 2331 of
          title 18) or domestic terrorism (as defined in section 2331 of title 18) on
          account of their status as victims of such terrorism.

(emphasis added). Logic and rules of statutory construction, including expressio unius est

exclusio alterius, preclude stretching that very specific limited language of exclusion to cover

these pension benefits, particularly in light of the fact that the provision not only excludes

benefits received under the Social Security Act, but two other specified categories of payments

as well – thus reinforcing the application of expressio unius to this situation.

    The second basis, which was described in Mihal as “an independent basis for this decision”,

was a specific provision of the Social Security Act that stated:

       The right of any person to any future payment under this subchapter shall not be
       transferable or assignable, at law or in equity, and none of the moneys paid or
       payable or rights existing under this subchapter shall be subject to execution, levy,
       attachment, garnishment, or other legal process, or to the operation of any
       bankruptcy or insolvency law.

Mihal at *3 (quoting 42 U.S.C. § 407(a) (emphasis added)). That provision specifically applies to

payments under the Social Security Act, which can only reasonably mean Social Security

payments provided for in, and paid and administered under, the Social Security Act itself.



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    Nor is the Court persuaded that the “anti-assignment” provision included in the Police and

Fire Retirement System Plan supports the Debtors’ position. That Plan document, in section

18.2, provides:

       The right of a person to a pension, annuity, the return of Accumulated Voluntary
       Employee Contributions and/or the return of Accumulated Mandatory Employee
       Contributions, the Retirement Allowance itself, to any optional form of benefit, to
       any other right accrued or accruing to any person under the provisions of this
       Retirement System, and the monies in the various funds of the Retirement System
       shall not be assignable and shall not be subject to execution, garnishment,
       attachment, the operation of bankruptcy or insolvency law, or any other process
       of law whatsoever, except as specifically provided in this Combined Plan
       Document or by an eligible domestic relations order of a lawful court.

http://www.pfrsdetroit.org/Portals/PFRS2/Documents/EM_Order_PFRS_Combined_Plan.pdf

(last visited May 13, 2016) (emphasis added). Apart from the conclusion that the Bankruptcy

Code provision as above interpreted should carry the day, in any event, the cited Pension Plan

provision (while similar to the language of 42 U.S.C. § 407(a) discussed in Mihal) is one of

contract. It is one thing for benefit payments, as a matter of law, to be excluded from the

bankruptcy estate (see § 541(c)(2)) or from “current monthly income” (see Mihal). It is quite

another thing for benefit payments to be excluded by virtue of a contract between the debtor and

his employer and/or labor union. In any event, as noted, the unambiguous provisions of the

Bankruptcy Code should control.

    The Court is also not persuaded by Debtors’ arguments that Mr. Charron’s pension benefits

should be treated similarly to Social Security benefits because the Internal Revenue Service deals

with the City of Detroit Police and Fire Pension Plan benefits by (a) treating that pension plan as

a Federal Insurance Contribution Act replacement plan; and (b) offsetting pension plan

beneficiaries’ Social Security benefits by the amounts received through the pension (presumably

the reason Mr. Charron receives monthly Social Security benefits of only $280.90). Tax



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treatment under the Internal Revenue Code carries little relevance and weight in light of the very

specific Bankruptcy Code provisions involved here. The Bankruptcy and Internal Revenue

Codes are two very different statutes designed for very different purposes.

    The Court is also not persuaded by the case principally relied upon by Debtors, In re

McPhee, No. 13-36046-KRH, 2014 WL 4211068 (Bankr. E.D. Va. Aug. 26, 2014). That case

involved Chapter 13 debtors who were dual U.S. and Canadian citizens and received income

from both U.S. Social Security and Canada’s analogue: Old Age Security. The reason that Court

confirmed a Chapter 13 plan that excluded both such retirement benefit incomes was because of

a treaty between the U.S. and Canada providing for the equal treatment under the laws of both

countries of each country’s benefits under their respective retirement programs. That Court

concluded that the treaty was self-executing and thus had equal force with the Bankruptcy Code

and the Social Security Act. Thus, McPhee is distinguishable.

    The Court is more persuaded by the more analogous cases cited by the Trustee. In In re

Moose, No. 11-51816, 2012 WL 954713 (Bankr. M.D. N.C. Mar. 20, 2012), one of the Chapter

13 debtors received benefits under the Civil Service Retirement System (CSRS) in lieu of Social

Security benefits. That Court opined:

           The plain and unambiguous language of § 101(10A) requires the Court to find
       that CMI does include CSRS benefits. The statute at issue specifically identifies
       only three sources of funds that are excluded from CMI: benefits received under
       the Social Security Act, payments to victims of war crimes or crimes against
       humanity, and payments to victims of international or domestic terrorism. While
       the Court does not disagree with the Debtors that the definition of CMI does
       appear to penalize a debtor who receives CSRS benefits in lieu of social security
       benefits, that is not a basis upon which the Court can find otherwise given the
       clear language of § 101(10A).




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Id. at *2 (internal citation omitted).1 A similar approach was taken by the Court in In re Scholz,

447 B.R. 887 (B.A.P. 9th Cir. 2011), a case involving a Chapter 13 debtor who received Railroad

Retirement Act (RRA) benefits, and in which that Court opined:

          In sum, the inclusion of RRA Benefits within the definition of CMI is both plain
          on the face of the statute and not absurd. Consequently, even if that inclusion
          were inadvertent, Congress rather than the courts should fix the CMI definition to
          expressly exclude RRA Benefits if that is what Congress actually meant to do.
          Thus, we hold that RRA Benefits fall within the statutory definition of CMI.

     Some might see the result of this Court’s ruling as being somehow inequitable or unfair to

recipients of such pensions, as compared to recipients of Social Security benefits, given that they

are both forms or types of pensions. To the extent that is a concern, equating them for purposes

involved in this case is a matter for Congress and not this Court. Accordingly, for the indicated

reasons, Debtors’ plan cannot be confirmed because it does not comply with the § 1325

requirement to commit all of their current monthly income.


                           The Trustee’s Other Objections to Confirmation

     The Trustee alleges that Debtors’ plan is filed in bad faith because they failed to properly

and timely disclose their exclusion of the Social Security and pension income from the plan. The

Court will overrule this objection because, although the Debtors perhaps could have more fully

and promptly articulated their specific legal position to the Trustee, it cannot be said that they

concealed that position in bad faith. For example, Debtors’ Chapter 13 Statement of Current

Monthly Income (Dkt. 8), which was filed on the petition date of October 1, 2015, provides on

page 4:




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  It is worth noting that, on further appeal, the Ninth Circuit Court of Appeals also ruled against
the debtors, but solely on grounds of an “anti-anticipation clause” that is specific to the RRA,
and thus inapplicable here. 699 F.3d 1167 (9th Cir. 2012).
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       Non-CMI - Social Security Act Income
       Source of Income: SS Retirement
       Constant income of $280.90 per month.

       Non-CMI - Excluded Other Income
       Source of Income: Detroit & Police Fire Disability
       Constant income of $2,166.23 per month.

In any event, whatever failure of communication originally existed has since been corrected, and

the matter has been decided on the merits, thus mooting the Trustee’s allegation of original

nondisclosure.

    The Trustee also alleged that Debtors failed to disclose a $5,000 retainer paid to their

attorney, Mr. Montera, who appeared as co-counsel for Debtors for the sole purpose of

representing them with respect to the aforementioned pension benefit issue. The Court notes that

Debtors’ petition (Dkt. 1) includes a Statement of Financial Affairs that sets forth that payment

to Mr. Montera. However, a Statement Pursuant to Fed.R.Bankr.P. 2016(b) was not then filed

with respect to Mr. Montera’s fees (only Mr. Keyes, the Debtors’ main attorney, then filed such a

statement). However, on April 17, 2016, Mr. Montera did file the appropriate Statement Pursuant

to Fed.R.Bankr.P. 2016(b) disclosing that retainer. The Court thus finds that the retainer was in

fact originally disclosed, though the appropriate attorney statement was filed belatedly, and that

such does not warrant a denial of confirmation on the basis of bad faith.




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                                          Conclusion

    For the foregoing reasons, the Trustee’s objections to confirmation are sustained, in part,

and confirmation of the proposed plan is denied. The Trustee shall present an appropriate order.




Signed on May 13, 2016
                                                ____ __/s/ Walter Shapero_    ___
                                                   Walter Shapero
                                                   United States Bankruptcy Judge




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